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Exhibit P
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                 HOLIDAY 2013
                 GTM Strategy Discussion




                                                   08/07/13




                                                              EXHIBIT
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       TODAY'S HOLIDAY GTM REVIEW

        Review 2013 04 & 2014 01 media plan scenarios

      • Share revised Holiday Video content ideas

        Discuss 2013 Integrated GTM Strategy Calendar and extension
        strategies


        Align to specific actions and deadlines for full engagement with
        Cricket PR and Digital teams

        Discuss next steps for w/o 8/12 meetings




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        MATRIX UPDATEPUTSPRIORITYON MARKETSTHAT
        REPRESENT60% OF GROSSADD GOALS




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        IPHONEMESSAGINGDURING HOLIDAYAND TAX
        TIME PERIODSIN PRIORITYMARKETS

       • Prioritize Tier 1 Growth
         and Tier 2 AWS/Launch
         markets
       • OOH and Digital assets
         to drive consideration
         and purchase
          •   OOH: Bulletins, Bus
              Shelters, Wallscapes
          •   Digital: Search &
              Display




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       SHIFTPRIME BUYINGSTRATEGY
                               TO FIXEDPOSITION


                                           • Maintain selective
                                             daypart and network
                                             placement for high
                                             share of voice against
                                             strategic target
                                           • Shift buying strategy
                                             for Prime inventory to
        ABC
         CBS
         MBC
                        25%   40-45%         guarantee delivery
         cw      35%                         within top performing
         FOX
        MyTV
        IND
                <5%     <5%   <.5%           daypart
        Cable   < 35%




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       SELECTIVE
               PRINTAND EMAIL DROPSTO INCREASE
       CONSIDERATIONAND ACTION DURING KEYPERIODS


        • Black Friday Shared Mail and FSIcampaign to deliver tangible
          and hard hitting promotional content
           •   Target nearby consumers
           •   Formats habitually used by consumers to search for deals


        • Direct Mail and E-Mail blasts during Tax Time promotion
           •   Target upcoming contract end dates
           •   Drops align with key delivery periods




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          EXPANDINGDIGITALPRESENCE
                                 TO CLOSELY
                                          ALIGN
          WITH THE CONSUMERPURCHASEJOURNEY
                                  Pre-Roll: Drive consideration via online video on Hulu, Youtube, TV Network
                                  Sites, and Ad networks through behavioral & contextual targeting
                                        (+) Interactive Overlay-Increase  purchase intent by porting "reasons to believe"
                                        on top of video
                                        (+) CRM Data- Build look~a~like targets with CRM data


                                  Standard Display: Extend message reach and complement Online Video buy
                                  with digital display
                                        (+) CRM Data- Build look-a-like targets with CRM data
                                        (+) Search Retargeting-Target   considers to drive action through search keywords
                                        (+) Rich Media/Custom Partnerships- Increase impact by serving "reasons to
                                        believe" within unit and creating custom partnerships that illustrate HIM



                                  Mobile: Drive consideration and store traffic
                                        (+) Geo~fencing -Target consumers within a specific radius to Cricket and
                                        competitive carrier stores
                                        (+) AT&T AdWorks- Utllize actual AT&T customer data to target the Individual
                                        Contract Switcher with AT&T service


                                  Social Media: Drive awareness of promotions through targeted postings
                                        (+) Fans- Increase consideration and intent by targeting both Cricket fans and
                                        fans of competitive providers
                                        (+)Keyword-Target     consumers based on key,vords included in social postings




Assess = what do I need?
Search =what providers meet my needs?
Aquire = selected my provider
Experience = is my provider what I wanted/needed
Calibrate= do I need to change?




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        PURCHASINGQ4'13 AND Ql'l4 TOGETHERYIELDS
        SIGNIFICANTBENEFITS
          Early entry into the market is essential given the growth in market
          demand, Olympics programming,            Politicals, and Healthcare activity
           •   Without early entry, inventory will be extremely limited if not
               completely unavailable
           •   Any available inventory will require significant premiums
                • Current Q3 buys are seeing up to 30% premiums due to late entry and
                  heavy marketplace demand
          Purchasing higher inventory levels increase negotiating leverage
          which could result in:
           •   Estimated savings of 2-7% on current planned costs (excluding
               premiums)
           •   Increased levels of added value and bonus inventory
           •   Enhanced selection of programming/locations




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        ROLEOF MEDIA DETERMINEDBY MARKETTYPE
         _J             Growth

         Sustaining Year Over Year Growth
           • Video
                   • Visually engage consumer with new message
                   • Increase recall by delivering on multiple video consumption points
                   • Drive awarenessof new promotionsand messaging
                   • Extend TV message Online to more targeted and engaged consumer
              •   Digital
                   • Complement and expand Online Video impact through highly targeted display units
                   • Increase purchase intent by utilizing CRM and re-targeting efforts
                   • Dnve store traffic through highly targeted mobile placements near Cricket and competitive locations
                   • Increase consideration and intent through fan-targeted Facebook posts and key word targeting on Twitter
              •   Radio
                   • Increase frequency around pay periods
                   • Build credibility and affinity through endorser partnerships
              •   OOH
                   • Increase in-market visibility and familianty
                   • Strengthen consideration by showcasing iPhone offering during key promotional periods
              •   Print
                   • Black Friday FSI alld SM for tangible call-to-action
                   • Direct Mail and E-Mail blasts to dnve consideration and action dunng contract end periods




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        ROLEOF MEDIA DETERMINEDBY MARKETTYPE
         _J          Maintenance

         Efficiently Retain Size of Current Customer Base
            • Video
                 • Deliver visual message online to a highly targeted and engaged consumer
              • Digital
                 •   Complement and expand Online Video impact through highly targeted display units
                 •   Increase purchase intent by utiliz,ng CRM and re-targeting efforts
                 •   Dnve store traffic through highly targeted mobile placements near Cncket and competitive locations
                 •   Increase cons1deratlon and intent through fan-targeted Facebook posts and key word targeting on Twitter
              • Radio
                 • Provide continuity and message familiarity
                 • Build credibility and affinity through endorser partnerships
              • Print
                 • Direct Mail and E-Mail blasts to dnve consideration and action dunng contract end periods




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        CURRENTFORECASTBUDGET- FLOWCHART




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        CURRENT
              FORECAST
                     BUDGET- SUMMARY




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        FINANCETARGETBUDGET- FLOWCHART




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        FINANCETARGET
                    BUDGET- SUMMARY



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        CHALLENGE


        • Challenge: Faced with a 15% budget reduction, how can we
          develop a plan that:
           •   Achieves effective delivery levels
           •   Maintains a pinpoint focus against the target
           •   Avoids a reduction in media coverage


        • Solution: Identify a smaller sub-segment of our strategic
          target to maintain the effective impact of our media support




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        TARGETRICARDOAS BULLSEYETARGET
          Macro marketing target Hispanic Individual Contract Switcher opportunity size:
          2.2MM
              Ricardo universe size: 844K
                • Highest propensity to switch for better plans (144)
                •   Least likely to be on PrePaid Plan {74)
                • Most likely to switch for latest technology so will be compelled by iPhone and
                  Galaxy S4 messaging (174)




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        OVERVIEWOF RICARDO'SMEDIA CONSUMPTION
        AND DEMOGRAPHICMAKE-UP
                          Ricardo Media Consumption




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        PRIORITIZEMATRIX ON HISPANICOPPORTUNITY




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        HISPANICTARGET-FLOWCHART




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        RECOMMENDTESTINGNEW APPROACHPRIORTO
        IMPLEMENTATIONTO ENSURELONG-TERMSUCCESS

        CHALLENGES                            OPPORTUNITIES
        • No Spanish language                 • Strong delivery against a
          website or mobile site                very focused, high
        • Limited paid social Hispanic          propensity target
          inventory                           • 30% increase in market
        • Size of opportunity relative          coverage
          to Gross Add goal                   • Enhanced frequency with
        • Nominal reach to non-                 no loss of reach against
          Hispanic audience                     strategic target
        • May require customized              • Media support during
          messaging                             launch of Generosity




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                              LAUNCH INSIGHT:
         People would never pay double for other things in
         life, why are they still doing it with their wireless?

                            LAUNCH CONSTRUCT:
         Opening- Establish situation for Todd to talk about price
         Engagement- Todd gives people the option to pay 2 prices for the
         same thing
         Seed The Idea - Todd makes the turn: "You'd never pay double here,
         so why are you doing it with your wireless?"
         Conversion "Switch to Cricket and get the same plans for half the
         price of AT&T and Verizon and do more with the money you save."
         Closing-We capture people having their "a-ha' moment and
         celebrate their smart decision




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                                    LAUNCH SCENARIOS

       FOOD TRUCK: Open on a food truck with people lined up at two windows. Both windows
       show a sign that says, "$4." Our Hero sees that one of the vendors changes the sign on one
       of the windows to "$2." and reacts.


       PEDI CAB RIDES: Our Hero is standing in a busy pedestrian area with his rickshaw. He has
       a sign that says: RICKSHAW RIDES $10 or $20.

       BLOCKBUSTER: Marquee says Tickets: $6 OR $12. Customers approach the ticket
       window and ask for a ticket. The ticket vendor (our Hero) gives them a choice of what to pay.

       WATER GUY: Our Hero is working the stands and selling bottled water at an adult
       recreational league sporting event. He has two coolers. One cooler is marked $2 Water.
       The other cooler says $4 Water.

       VELVET ROPE: Our Hero is the doorman at a music venue. He opens the door to reveal an
       incredible band/DJ playing and people having a great lime. He then shuts the door and tells
       people the cover charge is either $10 or $20.




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                                HOLIDAY INSIGHT:
         People would rather give more to those who matter during
           the holidays, so why are they giving so much to their
                            wireless company?"

                                     CONSTRUCT:
         Opening- Establish situation for Todd to talk about being generous
         Engagement- "lsn 'tit great to be able to give this time of year?"
         Seed The Idea - Todd makes the turn: "So why do people give so much
         toAT&Tand Verizon?"
         Conversion - "Switch to Cricket and get the same plans for half the
         price of AT&T and Verizon and do more for those who matter this
         holiday season
         Closing-We       capture people having their "a-ha' moment and
         celebrate all the ways they could do more during the holidays




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                                   HOLIDAY SCENARIOS

       TURKEY: Todd is in an apron at a grocery store is doing a turkey tasting by giving
       out free samples to shoppers

       KARAOKE: Todd is demonstrating a karaoke machine at a department store-
       providing holiday entertainment for shoppers

       LATTE: Todd is in front of a coffee shop handing out free pumpkin lattes
       to passer-bys OR at a Black Friday line serving lattes.

       GIFT WRAP: Todd is at a mall kiosk offering complementary gift wrapping in his
       own fun, unique way.

       TOYS: Todd is volunteering at a toy drive and accepting the donations people are
       dropping off.




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                                       TURKEY SCENARIO / ENGAGEMENT EXAMPLE

       OPENING:
       Todd is at a grocery store, giving out free samples of cooked turkey in preparation for the Thanksgiving holiday.
       He's wearing an apron (and maybe a chefs hat), standing behind a table, with samples of turkey on toothpicks.


       ENGAGEMENT:
       Todd uses his infectious personality to draw people to the sample table.
       (Ex Todd: Gobble gobble, everyone, it's turkey time I OR Who likes the taste of flightless b1rdlA small crowd gathers)

       SEEDING THE IDEA:
       Todd comments on the spirit of the season and asks the people who            approach him what they love about the
       holidays/what they would do if they had more to give to loved ones.
       (Ex Todd: "isnt tins tune of year great? You get to give to the people you   love and as they say giving is better than
       rece1vrng What 1/you had a lrttie more to spend th1syeac what would you      get or do, how would you give more?
       (People entlws1ashcal/y agree and provide va11ousreplies to /11squestion,    telling him how they would give more t/11sseason)


       CONVERSION:
       Todd steers the conversation toward their wireless plan, helpfully pointing out (via leading questions, so as not to
       sound accusatory or condescending) that if they switched to Cricket, they'd have the ability to give more to their
       loved ones this holiday season.
       (Ex Todd: "Have you ever thought about where you could be savrng money: to be able to do org1ve more? Do you have
       AT& Tor Ve11zonas your w,reless provider? If you switch to Cncket you'd pay half the pnce of AT&T and Venzon, and be able
       to give more where 1tmatters most (or do the specific example they had mentroned) with the money you save

       (People experience an a-ha moment when they realize that by switching to Cncket, they can be more generous dunng the
       holiday season, and have the means to do what they had rnentionedwouht make their holidays a little better)




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REVIEW GTM STRATEGIC FRAMEWORK FLOWCHART




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           GENEROSITY CONVERSATION DRIVES
             THROUGH PATH TO PURCHASE




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                 INTEGRATED GTM FLOWCHART
                      (REVIEW HANDOUT)




REVIEW HANDOUT




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                         TAIL STRATEGY


        At retail we have the opportunity to do what other mediums
         can't-to engage with customers one-to-one, understand
             what they want to do more of, and help them do it.
         We will use Cricket stores to deliver the complete story of
            generosity and use every tool in our retail toolbox to
        demonstrate how switching to Cricket means being able to
            DO MORE and GIVE MORE during the holidays.




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        The essence of our holiday campaign in store is to
        enable generosity and close the sale.

        Demonstrate DOING MORE by connecting our great
        devices and offers with popular apps that help you
        make the most of the holiday season. We will also use
        devices to deliver real life imagery to make an
        emotional connection with switchers around
        generosity, doing, and giving more during the
        holidays.




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             SOCIAL MEDIA STRATEGY


         Social media will bring DOING MORE/GIVING MORE to
          life during the holidays through a focus on surprise
                and delight. Social dialogues will be mined for
        opportunities to help customers understand that their more
             is even more fun when it's focused on others, and a
        tentpole activation will guide them to experience the joy of
              being able to bring a little more to the holiday table.




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           AFFORDABILITY INFOGRAPHIC SERIES
      (SEPT- OCT)
      This visual series of graphics will help connect the cost
      savings at Cricket with affordability, amplified through
      partnership with bloggers and posting on Cricket social                   ,,2:0,,11
      channels. Potential topics include:
      •     Why switching mobile carriers is a cost cutting activity
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            How easy it is to switch your wireless plan to Cricket                a
                                                                                ~:0'"'
      •     How saving with Cricket enables you to buy more for
            others - and what that "more" can look like
      •     How to cut costs this holiday season
      •     Year-round savings plan



                      Surprise & Delight Opportunity:
          Select fans who comment on the infographic posted on
          Cricket's social channels automatically win Cricket swag




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                              SOCIAL SCAVENGER HUNT
                      (OCT- DEC)
                      Fans will be invited to participate in a social media scavenger
                      hunt designed to help them explore how Half is More can be
                      about doing more this holiday season ... for others and
                      themselves.
                         A monthly checklist of activities will be created that brings to life
                         the idea of more being more when it includes doing something for
                         others
                         Participation will include rewards and acknowledgment of doing
                         good this holiday season through social badging
                         Clues for activities will be included on a Facebook tab, on the FB
                         wall, on Twitter, lnstagram, and YouTube, and on the Cricket
                         website
                         Some activities will require in-store visit and use of Cricket
                         phones
                         Mobile-friendly
                         FanHub participants will have unique opportunity to participate

                                   Surprise & Delight Opportunity:
                          Anyone who participates could be selected as an instant
                                winner of a smaller Cricket-branded prize




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        ONGOING SOCIAL STRATEGIES
                     COMMUNITY MANAGEMENT & EDITORIAL CONTENT
                     Daily social community moderation, engagement and
                     customer service support. Editorial content will amplify Half
                     is More holiday content and generosity themes. These will
                     also be further expanded via Facebook Hub articles.


                     BLOGGERENGAGEMENT
                     Ongoing blogger engagement will include content
                     partnerships related to generosity, device trials, potential
                     promo code sharing and Muve Music amplification.

                     MUVE MUSIC
                     Engage fans around Cricket's unlimited music offering via
                     exclusive artist content & access, in-service spotlights &
                     giveaways, blogger engagement and editorial calendar
                     content.




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           SOCIAL ADVERTISING PROGRAM
       FACEBOOK & TWITTER SOCIAL SELLING (SEPT· DEC)
       Use a combination of Facebook & Twitter advertising tactics to drive people to
       MyCricket.com and retail locations to complete various offers.
          Drive store traffic, on line purchases and offline leads
       •   Target existing Cricket fan base; AT&T and Verizon switchers



           Offer #1: $25 device                                  Offer #2: $19 .99 Discover
           financing promo (offline)                             (online)
               Success metric: number of people who
               fill out form to be qualified
                                                     (J/
                                                    ;·
                                                                     Success metric: number of people who
                                                                                                          c~
                                                                                                           /
                                                                     buy
           •   Use tracking URLto measure social ad
                                                                 •   Use promo code to measure social ad /
               effectiveness
                                                                     effectiveness

                                                                Nole: La1eSep1ember, Offer #2 will
                                                                swi1ch 1o difleren1 deal TBD




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         SOCIAL CHANNELS OVERVIEW
      Channel           Role                          Content                       Considerations
      Facebook          Reward, educate and           Promotions, giveaways,        Leverage visual assets
                        activate current customers;   tips & tricks, device         whenever possible, amplify
                        customer service; primary     launches, exclusive           reach via promoted posts &
                        source of Spanish brand       content, generosity           paid ads, house tent pole
                        info                          conversational topics,        activations
      Half is More FB   Home base for content that    Articles, photos and videos   Source hub content from
      Hub               brings HIM to life            about tech tips, devices,     trusted sources that can talk
                                                      music, ways to save,          about generosity & savings
                                                      reasons to switch
      Twitter           Reach new audiences,          Giveaways, tips & tricks,     Keep content concise with
                        connect with influencers;     local market event support,   snackable bites of
                        customer service              Muve Music content,           information, pilot social
                                                      conversational topics         selling
      YouTube           Build awareness and           HIM video content,            Amplify reach with paid
                        educate customers about       sharable brand videos,        support
                        Cricket products; feature     producttutorials, exclusive
                        HIM generosityvideo           Muve Music content
                        content
      lnstagram         Engagement around visual      Device photos, behind the     Newest Cricket channel,
                        brand assets                  scenes artist photos,         continue growing in Q4
                                                      generosity brought to life




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          Leverage upgraded shopping experience & associated search
          strategy to continue Half Is More conversation on line and drive
          conversion
           • Maximize oppottunities on the homepage to break down barriers for the
             individual contract switcher by featuring rate plan value proposition &
             showcasing online-only offers (BF, Cyber Monday)
           • Integrate generosity content throughout the site to provide customers with a
             deeper brand experience as they make their final shopping decisions; with
             new platform in place, update content more frequently to reflect mindset
             shifts across Q4
           • Update HIM landing page to reflect Holiday creative look and feel


         Exploit optimized mobile/tablet experience to generate stronger                    _
         social activity around generosity content                               /~io       "t
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        Pitch long-lead opportunities with influencers and advocates to be
        part of the "role of technology at the holidays" conversation
         • Secure placement in key offline and on line outlets to be on every "hot" holiday
           list- event planning, gift-giving guides, best holiday/BF deals
         • Focus on Holiday Apps that make it easy to plan, shop, gift, travel
        Create short-lead opportunities with local media outlets to promote
        offers
         • Leak Half Friday promotion by feeding local markets 'exclusive" deal
           information, and drive consumers to stores to find out more about these
           unique deals
        Create buzz & drive local store traffic with a Generosity Media Tour
            Leverage Todd as a "do more" advocate, and develop a media tour that
            brings him to key markets and showcases how Cricket can enable them        tq/-/
            enhance their holiday experience




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         Deliver contextually relevant ads to switchers who are beginning to plan for the
         Holidays in October
              Placements should focus on sites regarding travel, party planning, tech sites that showcase
              how to leverage technology to plan
         Create awareness for the Half Friday Sales promotion in November
              Deliver a unique message based on the day of the week/countdown until the next "Half
              Friday" promotion
         Drive Black Friday & Cyber Monday sales
              Leverage pre-roll and video placements post Black Friday within news sections covering
              the sales craziness and highlights of Black Friday to communicate that it isn't too late to
              save this holiday
              Partner with deal seeker apps (SnipSnap, Decide) that helps switchers with their shopping
              Secure presence during Cyber Monday on large retail sites as well as sites focused on
              deal hunting (i.e. cybermonday2013.com, slickdeals.com, and cybermonday.com)
         Target last minute online shoppers who are concerned about shipping costs,
         forgetting someone on their list, last minute party ideas
              Deliver messaging to let them know its not to late to be generous if you switch to Cricket
          •   Target ad placements to Holiday party planning including
              party dresses




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       HALF FRIDAY SALES               (selectmediamarkets, 11/1,8,15,22)

       •   Aggressive Flash Sales to drive store traffic and conversation. "I went
           to Cricket last Friday and got an HTC One for $79.99, you should go
           next Friday."
           Activate local street teams to drive traffic in-store for unique offers
           Amplify "challenger" approach to drive generosity and comparison
           message through SMS, flyers, deal sites/apps (e.g. Groupon)
           Leverage existing local media, sponsorships & events to communicate
           a single message around Half-Friday sales to drive traffic build into
           Black Friday
            •   "Surprise and delight" customers with incentives and prizes - free phones,
                prizes (apps, accessories), Muve Music artist appearances/events
           Geo-target guerilla opportunities in low/no media markets where
           volume/activation could drive ROI




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       Cricket "Office Party"           (Cyber Monday through EOY)


       •   Utilize local activations, sponsorships, public relations and other opportunities to
           leverage Black Friday boost and drive store sales during the sprint to Christmas
       •   Execute store level weekly events to:
            • Support the Muve Music Concert Series - Social extensions
            • Capitalize on ''Todd" improv visit to drive store visits
                • Incorporate Todd and/or Muve Music series into Holiday merchandising
                  kit with in-store activation
       •   Additional Support
            • Local Social Amplification - Drive consumer engagement to generate social
               conversations at a community level
            •   Incorporate generosity message into local consumer PR




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        •   8/7 (today): Agree on additional needs for w/o 8/12 meetings
            (Julie/Tyler, APs, C-Suite)

        •   8/7 - 8/11: Network to refine deck; share ideas with PR and Digital
            teams for alignment

        •   8/8: Present Tax Time ideas to Marcom

        •   8/9: Send updated deck to Marcom for review

        •   8/12: Present Holiday GTM strategy and Tax Time ideas to Julie/Tyler

            8/13: Present Holiday GTM strategy and Tax Time ideas to APs

        •   8/14: Present Holiday GTM strategy and Tax Time ideas to C-Suite




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        OPTIMAL BUDGET- FLOWCHART




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        OPTIMALBUDGET- SUMMARY




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       Business Objective    Drive gross adds. Improve 90 Day survivability

       Marketing Objective   Maximize the Holiday selling season, differentiating the
                             brand and capturing market share

      Target Focus           Individual Contract Switchers

                             Focus on the Holiday Mindset as opposed to just the Holiday
       Marketing Approach    Season to extend our reach and to create disruption.

       Messaging Focus       Generosity - Cricket enables you to DO MORE this
                             holiday season

       End Benefit           With plans half the price of AT&T and Verizon, you can spend
                             less and do more to make the most of your holiday: Enjoy more
                             experiences, create more celebrations, give more to loved ones

      Assignment             Concept ideas that evolve the HIM campaign around the
                             idea of generosity and extend across all mediums




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              Leverage the Half is More campaign
                during the critical fourth quarter

                With Pians Half the Price of AT&T and
                    Verizon, You Can Spend Less
                   and Do More of What Matters.




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                                                                                                  Acquisition Target




                                                            J can'tbelieve what phcmes can do these days,
      I'm about Uving within my means. I'm ccmfortable
                                                            but/ try my best to keep up. I want a cool
      where I am in life. My phone is·a necessary
                                                            phone but I don't need ta have the latest
      part of my life but I like to stick to the basics.
                                                            and greatest, and I don't want to spend
                                                            too much for it.                                       withmyllfe.

      I just want to to1k and
      text. ! liked it when                                 I un my phone far
                                                                                                                    lnf!ed un/imitit:d
      phones wefl:'" simple.   I                            rmai/, I do a little                                    data. I hove ta get
      Just want the bDsics                                  Jurfini;;but moJ:tJ'yun                                 thrlatut, butit5till
      atagoadpriu                                           it for talkinQ                                          haJ: to bt a grPat
                                                            ondtrxtfr1i;i                                           pnce




      • Br,eks up in person                                  • l'kei,i(s up OYer pho•ne/text
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                                                                       to frieAod1a                           [> : :::::~~~r~en~:c:::~t\he     feature1a lo"ded on
        phone                                                   her phone                                            his new phone·
      • calls: friends to stay in touch                      • Face-book,, texts and emails friends to keep   t> •           textund Skype'1afriendi to never
                                                                                                                   !osetouch
      • The phone isonlyonwhenshe's.awake                    • The p•hone is.always on, she c·arries her
                                                               charger everywhere
                                                                                                              t> •:.~:  ~:~;r:i::::,a~:~:~ays "fultycharged
      •· Doesn't change phone settings or sounds             • Chooses some phone settings                       • Customizes every phone setting
      • U.sesthe default ringtone                            • F:fndsa ringtone from what was fnstalledoo
                                                               the phone
                                                                                                              t> • friends
                                                                                                                   Downloads different ringtones for different

      • Ha,sthe factory installed apps:, but ha.sn't used    • Downloads app's that keep her moving and       [>    categorize.s app's by purpose and function
        them                                                   in touch
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          The Contract Switcher who is open to leaving AT&T
          and Verizon

          They're likely to be single and to earn less than $75K
          a year

          They know how to manage their money to have more
          of what they really want without going into debt




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                                                        FOR THE HOLIDAYS


         Affordability                    ~1                Generosity
      Switch to Cricket today and have               Cricket helps you to do more
       more to spend on the Holidays                      during the Holidays


        Start engaging the contract switcher          Connect the Half is More message
       early when they're saving and planning        benefit to being able to do more with
         for the Holidays - not just when the         and for family, friends and yourself
                 shopping has begun




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            We neE?dto engage them   at every touch point with
      CONTENT THAT STARTS A CONVERSATION
                          and drives then1 to
                         TAKE ACTION

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        Affordabi I ity Core Message      =                          RE
          CAMPAIGN LAUNCH
            Message Emphasis: Spending Less
            Demonstrated by Todd selling the same product for half the price

          HOLIDAY PROGRAM
            Message Emphasis: Do More of What Matters
            Demonstrated by Todd showing people how they can be
            more generous during the holidays




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          For the Holidays, Todd will continue to deliver the Cricket brand
              personality and serve as the catalyst for the customer's
                       "aha" moment-not a spokesperson.

       • Getting to Know Todd -We will "peel the onion" and see Todd in a new light.
         We will start to see him as a real person doing what our target is doing during this
         time of year.

       • Todd is helping people DO more-Todd is there to help people be more
         generous during the holidays-driving home the Cricket value prop of "Pay Half
         and Do More"

       • A Holiday Connection-Todd will have real "moments" with people and connect
         with them on the topic of holiday generosity and what it means to them.




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        • Mindsets for all three areas work well for both General and
          Hispanic markets
        • Situational nuances to scenarios will be incorporated to
          ensure optimal relevancy for the Hispanic audience, such as:
            Food/recipes (e.g. tres leches vs. apple butter)
            Activities (e.g. dancing vs. karaoke)
            Planning (e.g. rely on people vs. website for ideas)
        • Similar to launch, executional nuances will also be applied to
          most clearly communicate message to each audience through
          Todd & Jesus




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                                Metadata
Author                                                             SEMANTIC
Begin Family                                                       SEMANTIC
Custodian                                                          SEMANTIC
Date Created                                                       SEMANTIC
Date Modified                                                      SEMANTIC
End Family                                                         SEMANTIC
Extension                                                          SEMANTIC
Filename                                                           SEMANTIC
MD5 Hash                                                           SEMANTIC
Production Volume                                                  SEMANTIC
Title                                                              SEMANTIC




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